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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
U.S. SECURITIES AND EXCHANGE           :
COMMISSION,
                                       :
               Plaintiff,
                                       :             Civil Action No. 19-cv-5244 (AKH)
       vs.
                                       :
KIK INTERACTIVE INC.,
                                                :
                   Defendant.
-------------------------------------- X


     DEFENDANTS’ SECOND AMENDED RULE 26(a)(1) INITIAL DISCLOSURES

       Defendant Kik Interactive, Inc. (“Kik” or the “Company”) provides the following

supplemental disclosures pursuant to Rule 26(e) of the Federal Rules of Civil Procedure. The

following amended disclosures are based on information reasonably available to Kik as of the date

of these disclosures. Kik reserves the right to supplement, alter, or amend these disclosures as

discovery progresses and as additional information becomes available through further

investigation and discovery. Additional supplemental disclosures will be made to the extent that

they are not mooted by future discovery responses or have not otherwise been made known to the

Securities and Exchange Commission (the “Commission”) during the discovery process or in

writing.

       By making these disclosures, Kik is not waiving its rights to object to any discovery that

the Commission may serve, nor is Kik making a representation that it has identified every

document, tangible thing, or witness that may possibly be relevant to this lawsuit.        These

disclosures represent a good-faith effort to identify the information Kik reasonably believes is

called for by Rule 26(a)(1).
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 I. INDIVIDUALS OR ENTITIES LIKELY TO HAVE DISCOVERABLE INFORMATION

 (RULE 26(a)(1)(A)(i))

        Subject to the qualifications set forth above and without prejudice to Kik’s right to offer

 testimony at a hearing, trial, or otherwise in this action from any of the following persons on topics

 other than those specified below, or to offer testimony from any witness not identified below, the

 following list identifies, in alphabetical order, individuals likely to have discoverable information

 that Kik may use to support its defenses. Kik reserves the right to designate additional witnesses

 as additional persons become known to Kik as possessing discoverable information.                The

 identification of any particular subject matter below does not constitute a representation that the

 individual has full knowledge of that subject area, or that his or her knowledge is limited to that

 subject area.

  INDIVIDUALS/       LAST KNOWN CONTACT              CONNECTION TO                SUBJECT(S) OF
    ENTITIES             INFORMATION                   THE CASE                   INFORMATION
Eran Ben-Ari         May be contacted through      Chief        Product    Knowledge about the Kik
                     Kik’s counsel of record,      Officer for Kik in      Messenger application, the
                     Cooley LLP                    2017. Worked on the     development        of Kin’s
                                                   Kik       Messenger     initial functionality within
                                                   application and the     Kik at the time of the
                                                   creation,               September 2017 token
                                                   development,     and    distribution event (“TDE”),
                                                   launch of the Kin       Kik’s product development
                                                   project.                incorporating Kin, the Kin
                                                                           whitepaper,      and      the
                                                                           development and execution
                                                                           of     Kik’s     sale    and
                                                                           distribution of Kin in 2017.
Jake Brukhman        Thomas Wagner                 Co-founder, CEO, CoinFund’s role as a
                     Richard Levin                 and       Managing consultant for Kik in
                     Polsinelli LLP                Director         at connection with Kin.
                     1401 Lawrence Street, Ste     CoinFund.
                     2300
                     Denver, CO 80202




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Erin Clift        May be contacted through   Kik’s         Chief    Knowledge about Kik’s
                  Kik’s counsel of record,   Marketing Officer in   marketing efforts, including
                  Cooley LLP                 2017. Worked on        the public message around
                                             public                 Kik’s 2017 pre-sale (the
                                             communications         “Pre-sale”) and Token
                                             regarding the Kin      Distribution           Event
                                             project.               (“TDE”). She worked with
                                                                    Kik’s     marketing      and
                                                                    content teams to draft and
                                                                    publish    communications
                                                                    about the Kin project.
CoinFund          Thomas H. Wagner           Kik’s consultant       CoinFund’s role as a
                  Polsinelli                                        consultant for Kik in
                  1401 Lawrence Street,                             connection with Kin.
                  Suite 2300
                  Denver, CO 80202
Samuel Dowd       May be contacted through   Purchased Kin      in Details and circumstances
                  his counsel of record,     Kik’s 2017 TDE        surrounding Mr. Dowd’s
                  Neil Smith, K&L Gates                            purchase and use of Kin and
                  LLP                                              his participation in the
                                                                   network.
Alexander Felix   Thomas Wagner             Managing Director CoinFund’s role as a
                  Richard Levin             and CIO at CoinFund consultant for Kik in
                  Polsinelli LLP                                connection with Kin, the
                  1401 Lawrence Street, Ste                     circumstances and details
                  2300                                          of Mr. Felix’s participation
                  Denver, CO 80202                              in Kik’s pre-sale of
                                                                contractual    rights     to
                                                                accredited         investors
                                                                pursuant to SAFTs.
Brian Hamachek    May be contacted through   Co-Founder & CEO Details and circumstances
                  his counsel of record,     at Nearby        surrounding           Mr.
                  Neil Smith, K&L Gates                       Hamachek’s participation
                  LLP                                         in the network.
Peter Heinke      May be contacted through   Kik’s          Chief   Knowledge about Kik’s
                  Kik’s counsel of record,   Financial Officer in   financial             state,
                  Cooley LLP                 2017. Involved in      performance, development
                                             the development and    and execution of Kin
                                             execution of the Kin   project, communications
                                             project.               with regulatory bodies, and
                                                                    Kik corporate governance.
Luc Hendriks      May be contacted through   Purchased Kin      in Details and circumstances
                  his counsel of record,     Kik’s 2017 TDE        surrounding Mr. Hendriks’
                                                                   purchase and use of Kin and




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                  Neil Smith, K&L Gates                               his participation in the
                  LLP                                                 network.
William Hinman    Stephen Schlegelmilch,     SEC’s Director of        SEC awareness of virtual
                  David Mendel, Laura        Corporation Finance,     currencies and initial token
                  D’Allaird                  made       numerous      sales; SEC guidance and
                                             public    statements     positions      on     virtual
                                             regarding the SEC’s      currencies, or lack thereof;
                                             regulatory approach      communications regarding
                                             to cryptocurrencies      changes to or ambiguities in
                                                                      SEC’s position concerning
                                                                      virtual currencies and/or
                                                                      crowdsales; SEC guidance
                                                                      and positions on the sale of
                                                                      pre-functional products or
                                                                      commodities;          public
                                                                      statements        concerning
                                                                      virtual currencies.
Paul Holland      May be contacted through   Kik      Board     of    Knowledge about the Kik
                  his counsel of record,     Directors in 2017.       Board of Directors, the
                  Goodwin Procter LLP        Involved in initial      cryptocurrency         space
                                             discussions about a      generally, the inception of a
                                             cryptocurrency token     cryptocurrency project for
                                             and the development      Kik, and the development
                                             and launch of the Kin    and launch of the Kin token.
                                             project.
Jonathan Ingram   Stephen Schlegelmilch,     Chief Legal Advisor      SEC awareness of virtual
                  David Mendel, Laura        for FinHub in the        currencies and initial token
                  D’Allaird                  Division            or   sales; SEC review of and
                                             Corporation Finance      comment on No-action
                                             of the U.S. Securities   letters    and    regulatory
                                             and         Exchange     filings concerning the sale
                                             Commission;              of virtual currencies; SEC
                                                                      guidance and positions on
                                                                      virtual currencies, or lack
                                                                      thereof; communications
                                                                      regarding changes to or
                                                                      ambiguities     in    SEC’s
                                                                      position concerning virtual
                                                                      currencies            and/or
                                                                      crowdsales; SEC guidance
                                                                      and positions on the sale of
                                                                      pre-functional products or
                                                                      commodities;          public
                                                                      statements       concerning
                                                                      virtual currencies.




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Edward             May be contacted through   Kik’s          Chief    Knowledge about forming
Livingston         Kik’s counsel of record,   Executive Officer.      the idea for Kin, Kik’s
                   Cooley LLP                 Involved in creation,   financial             state,
                                              development,     and    performance,
                                              launch of the Kin       communications regarding
                                              project.                Kin, development and
                                                                      execution of Kin project,
                                                                      communications         with
                                                                      regulatory bodies, and Kik
                                                                      corporate governance.
Daniel Morehead    Craig S. Warkol            Chief      Executive    Communications with Kik,
                   Schulte Roth & Zabel       Officer and founder,    and the circumstances and
                   LLP                        Pantera       Capital   details     of     Pantera’s
                   919 Third Avenue           Management       LP.    participation in Kik’s pre-
                   New York, NY 10022         Participated in Kik’s   sale of contractual rights to
                                              pre-sale.               accredited         investors
                                                                      pursuant to SAFTs.
William            May be contacted through   Member of Kin           Knowledge about the Kin
Mougayar           his counsel of record,     Foundation Board of     Ecosystem Foundation and
                   Murphy & McGonigle,        Directors from June     development and launch of
                   P.C.                       2018 to present.        the Kin token.
Pantera Capital Craig S. Warkol               Participated in Kik’s Communications with Kik,
Management LP   Schulte Roth & Zabel          pre-sale.             and the circumstances and
                LLP                                                 details of its participation in
                919 Third Avenue                                    Kik’s         pre-sale       of
                New York, NY 10022                                  contractual       rights     to
                                                                    accredited            investors
                                                                    pursuant to SAFTs.
Michael Pazaratz   May be contacted through   CEO, Rave               Details and circumstances
                   his counsel of record,                             surrounding Mr. Pazaratz’s
                   Neil Smith, K&L Gates                              participation   in     the
                   LLP                                                network.
Tanner Philp       May be contacted through   Technical Advisor to    Knowledge about forming
                   Kik’s counsel of record,   CEO       (Director,    the idea for Kin, Kik’s
                   Cooley LLP                 Corporate               financial             state,
                                              Development       in    performance,
                                              2017). Involved in      communications regarding
                                              creation,               Kin, development and
                                              development,    and     execution of Kin project,
                                              launch of the Kin       communications          Kin
                                              project.                economy partners, and Kik
                                                                      corporate governance.




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William Raduchel   May be contacted through   Advisor to Kik in       Knowledge about the Kin
                   his counsel of record,     2017. Advised on        Ecosystem Foundation and
                   Sidley Austin LLP          creation,               the development and launch
                                              development,  and       of the Kin token.
                                              launch of the Kin
                                              project.
Valerie            Stephen Schlegelmilch,     Associate Director in   SEC awareness of virtual
Szczepanik         David Mendel, Laura        Division           of   currencies and initial token
                   D’Allaird                  Corporation Finance;    sales; SEC review of and
                                              Senior Advisor for      comment on No-action
                                              Digital Assets and      letters     and   regulatory
                                              Innovation              filings concerning the sale
                                                                      of      virtual  currencies;
                                                                      enforcement          actions
                                                                      concerning the offer or sale
                                                                      of virtual currencies; SEC
                                                                      guidance and positions on
                                                                      virtual currencies, or lack
                                                                      thereof; communications
                                                                      regarding changes to or
                                                                      ambiguities     in    SEC’s
                                                                      position concerning virtual
                                                                      currencies            and/or
                                                                      crowdsales; SEC guidance
                                                                      and positions on the sale of
                                                                      pre-functional products or
                                                                      commodities;          public
                                                                      statements       concerning
                                                                      virtual currencies.
Jay Weatherman     May be contacted through   Founder, Kin Fit        Details and circumstances
                   his counsel of record,                             surrounding              Mr.
                   Neil Smith, K&L Gates                              Weatherman’s purchase of
                   LLP                                                Kin and his participation in
                                                                      the network.
Fred Wilson        May be contacted through   Kik      Board     of   Knowledge about the Kik
                   Kik’s counsel of record,   Directors in 2017.      Board of Directors, the
                   Cooley LLP                 Involved in initial     cryptocurrency         space
                                              discussions about a     generally, the inception of a
                                              cryptocurrency token    cryptocurrency project for
                                              and the development     Kik, and the development
                                              and launch of the Kin   and launch of the Kin token.
                                              project.
Phillip Yang       May be contacted through   Senior    Program Knowledge about Kik’s
                   Kik’s counsel of record,   Manager for Kik in communications,
                   Cooley LLP                 2017. Involved in marketing, and product




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                                                 the development and teams, including sourcing
                                                 launch of stickers for and launching stickers for
                                                 the Kin project.       the       Kin        project,
                                                                        communicating            with
                                                                        potential partners related to
                                                                        stickers, and the initial
                                                                        public launch (“IPL”) for
                                                                        Kin.
SEC        30(b)(6) Stephen Schlegelmilch        N/A                    SEC’s              regulatory
witness             and                                                 investigation of Kik and the
                    David Mendel                                        Kin Foundation; SEC
                                                                        awareness       of    virtual
                                                                        currencies; SEC review of
                                                                        and comment on No-action
                                                                        letters     and    regulatory
                                                                        filings concerning the sale
                                                                        of      virtual   currencies;
                                                                        communications with third
                                                                        parties           concerning
                                                                        Kik;      SEC notice of
                                                                        grounds for claims asserted;
                                                                        SEC guidance and positions
                                                                        on virtual currencies, or
                                                                        lack                 thereof;
                                                                        communications regarding
                                                                        changes to or ambiguities in
                                                                        SEC’s position concerning
                                                                        virtual currencies and/or
                                                                        crowdsales; SEC guidance
                                                                        and positions on the sale of
                                                                        pre-functional products or
                                                                        commodities.

 II. DESCRIPTION OF DOCUMENTS (RULE 26(a)(1)(A)(ii))

          Subject to the qualifications set forth above, Kik discloses the following categories of

 documents, data compilations, and tangible things that are in its possession, custody, or control

 and that Kik may use to support its defenses:

   DOCUMENT DESCRIPTION BY CATEGORY                                 LOCATION(S)
Motions, pleadings, exhibits, and other public Law offices of Kik’s counsel of record, Cooley
filings or documents exchanged in this litigation. LLP




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Documents produced by Kik to the Commission Law offices of Kik’s counsel of record, Cooley
in the course of the Commission’s investigation LLP
Documents relied on or produced by the Law offices of Kik’s counsel of record, Cooley
Commission in its investigative file   LLP
Recordings or transcripts of public statements Kik Interactive Inc., or the law offices of Kik’s
made by Kik or Kik’s executive team            counsel of record, Cooley LLP

 III. COMPUTATION OF DAMAGES (RULE 26(a)(1)(A)(iii))

        Kik contends that it is not liable to the Commission for any damages, penalties, or remedial

 relief. Kik may seek attorneys’ fees and costs in defending this action to the extent authorized by

 law. Fed. Election Comm’n. v. Political Contributions Data, Inc., 995 F.2d 383, 385-87 (2d Cir.

 1993); SEC v. Morelli, 1995 WL 9387, at *2-9 (S.D.N.Y. Jan. 11, 1995). The amount of Kik’s

 attorneys’ fees, expenses, and costs is increasing and the total amount that will ultimately be sought

 is presently unknown.

 IV. INSURANCE AGREEMENTS (RULE 26(a)(1)(A)(iv))

        Kik maintains directors and officers liability insurance under which certain insurance

 carriers may be liable to satisfy all or part of any judgment that may be entered in this action or to

 indemnify or reimburse for payments made to satisfy any judgment.




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Dated: November 18, 2019              Respectfully submitted,



                                      By: /s/ Patrick E. Gibbs
                                         Patrick E. Gibbs (Pro Hac Vice)
                                         Luke T. Cadigan (Pro Hac Vice)
                                         Sarah M Lightdale (4395661)
                                         Brett H. De Jarnette (Pro Hac Vice)

                                          Cooley LLP
                                          3175 Hanover Street
                                          Palo Alto, CA 94304-1130
                                          Phone: (650) 843-5000
                                          Fax: (650) 849-7400
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                                          Kenneth R. Lench (Pro Hac Vice
                                          forthcoming)

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                                          Attorney for Defendant
                                          KIK INTERACTIVE INC.




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                                 CERTIFICATE OF SERVICE


      I, Jenna Bailey, am over the age of eighteen years, and not party to the within action. I
solemnly swear and state that I served originals of the within document(s) on November 18, 2019.

                KIK’S SECOND SUPPLEMENTAL RULE 26(a)(1) INITIAL
                                 DISCLOSURES

  BY ELECTRONIC DELIVERY
         Based on a court order or an agreement of the parties to accept service by e-mail or
         electronic transmission, I caused such documents described herein to be sent to the persons
         at the e-mail addresses listed below. I did not receive, within a reasonable time after the
         transmission, any electronic message or other indication that the transmission was
         unsuccessful.

          Stephan Jacob Schlegelmilch               Laura K. D’Allaird
          (schlegelmilch@sec.gov)                   (DallairdL@sec.gov)
          Securities and Exchange Commission        Securities and Exchange Commission
          100 F Street NE, Mailstop 5971            100 F. Street NE, Mailstop 5971
          Washington, DC 20549
          Tel: (202) 551-4935                       Washington, DC 20549
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          David S. Mendel
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______
                                                                /s/ Jenna Bailey
                                                                  Jenna Bailey
